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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  KATHY COURTRIGHT,

                         Petitioner,

  v.                                                    Civil Action No. 5:05-CV-174
                                                        Criminal Action No. 5:02CR70-09
  UNITED STATES OF AMERICA,                             (JUDGE STAMP)

                         Respondent.

                              REPORT AND RECOMMENDATION
                               THAT §2255 MOTION BE DENIED

                                        I. INTRODUCTION

         On October 17, 2005, pro se petitioner filed a Motion Under 28 U.S.C. § 2255 to Vacate,

  Set Aside or Correct Sentence by a Person in Federal Custody. The Government filed its

  response November 16, 2005.

                                              II. FACTS

  A.     Conviction and Sentence

         On July 29, 2003, Petitioner signed a plea agreement by which she agreed to plead guilty

  to Count Six, Aiding and Abetting the Distribution of Cocaine Base, also known as “Crack,”

  within 1,000 Feet of a School, in violation of Title 21, United States Code, Sections 841(a)(1),

  841 (b)(1)(C) & 860 and Title 18, United States Code, Section 2. In the plea agreement, the

  parties stipulated and agreed that the total relevant conduct of the defendant would be less than

  250 milligrams of cocaine base, also known as “crack.” The relevant conduct was based upon

  buys and other information in the investigation. The parties further stipulated that the transaction

  and relevant conduct occurred within 1,000 feet of a protected location and that an increase was

  applicable pursuant to U.S.S.G. §2D1.2. Additionally, the petitioner waived her right to appeal
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  and to collaterally attack her sentence. Specifically, the petitioner’s plea agreement contained the

  following language regarding her waiver:

                  10.     The defendant is aware that Title 18, United States Code,
                  Section 3742 affords a defendant the right to appeal the sentence
                  imposed. Acknowledging all this, the defendant knowingly waives
                  the right to appeal any sentence within the maximum provided in
                  the statute of conviction (or the manner in which that sentence was
                  determined) on the ground set forth in Title 18, United States
                  Code, Section 3742 or on any ground whatever, in exchange for
                  the concessions made by the United States in this plea agreement.
                  The defendant also waives her right to challenge her sentence or
                  the manner in which it was determined in any collateral attack,
                  including, but not limited to, a motion brought under Title 28,
                  United States Code, Section 2255. The United States waives its
                  right to appeal the sentence. The parties have the right during an
                  appeal to argue in support of the sentence.

        On August 8, 2003, the petitioner entered her plea in open court. Petitioner was 42 years

  old and had a GED and cosmetology schooling. (Plea transcript p. 4) Petitioner stated she

  understood and agreed with all the terms and conditions of the plea agreement. (Id. at 10) The

  Court specifically asked if petitioner understood the waiver of appellate and post-conviction

  relief rights. (Id. at 11) The Court asked petitioner’s counsel if he believed petitioner understood

  the waiver of appellate and post-conviction relief rights. (Id. at 11) The Court then reviewed all

  the rights petitioner was giving up by pleading guilty. (Id. at 14-18) During the plea hearing, the

  Government presented the testimony of Gary M. Gaus, a Wheeling, W.V., police officer

  assigned to the Ohio Valley Drug Task Force, to establish a factual basis for the plea. (Id. at 19-

  20). The petitioner did not contest the factual basis of the plea.

        After the Government presented the factual basis of the plea, the petitioner advised the

  Court that she was guilty of Count 6 of the indictment. (Id. at 22) The petitioner further stated

  under oath that no one had attempted to force her to plead guilty, and that she was pleading

  guilty of her own free will. (Id. at 21) In addition, she testified that the plea was not the result of



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  any promises other than those contained in the plea agreement. (Id.) The petitioner testified that

  her attorney had adequately represented her, and that her attorney had left nothing undone. (Id. at

  p. 22) Finally, petitioner said she was in fact guilty of the crime to which she was pleading

  guilty. (Id.)

        At the conclusion of the hearing, the Court determined that the plea was made freely and

  voluntarily, that the petitioner understood the consequences of pleading guilty; and that the

  elements of Count 6 were established beyond a reasonable doubt. (Id. at p.22) The petitioner did

  not object to the Court’s finding.

          On November 3, 2003, the petitioner appeared before the Court for sentencing. After

  considering several factors, including the circumstances of both the crime and the defendant, and

  the sentencing objectives of punishment, the Court sentenced the petitioner to a term of 188

  months imprisonment.

  B.      Appeal

          Petitioner filed a notice of appeal November 10, 2003. The judgment of the District Court

  was affirmed November 1, 2004.

  C.      Federal Habeas Corpus

          Petitioner contends in ground one of her petition that she received ineffective assistance

  of counsel because her counsel presented her with a plea bargain, whereby he represented that

  the maximum guideline sentence petitioner would receive would be 37 months. Petitioner

  contends she signed the agreement based on that representation. Petitioner contends that the time

  of sentencing was the first time she learned that she would be sentenced as a Career Offender

  subject to a sentence of 188 months.1 Specifically, petitioner contends that counsel should have


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   It should be noted that paragraph 2 of the plea agreement states the maximum penalty to which defendant was
  exposed by virtue of the plea agreement was 40 years (480 months) imprisonment.


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  been aware of her exposure to the Career Criminal Act and should have been aware that the

  government would pursue such a sentence provision. Additionally, petitioner contends in ground

  two of her petition that her counsel was ineffective by advising her to enter into the plea

  agreement that foreclosed petitioner’s ability to appeal the enhanced sentence by failing to

  preserve use of unproven convictions used for the Career Offender status.

         The Government contends that petitioner knowingly and voluntarily entered into the plea

  agreement which includes a paragraph advising the Court and all parties that relevant

  information regarding the defendant’s background, criminal record, and other pertinent data will

  be provided to the United States Probation Officer to be used in connection with a presentence

  investigation report. Additionally, the Government contends that during the Plea Hearing the

  petitioner affirmed that she had reviewed the agreement with counsel and understood and agreed

  to all of the terms and provisions of the plea agreement. Regarding the second ineffective

  assistance of counsel claim made by petitioner, the Government contends that the petitioner

  knowingly and voluntarily entered into the plea agreement that includes a paragraph waiving the

  right to appeal the sentence of the manner in which the sentence was determined. The

  Government contends that during the plea hearing the petitioner acknowledged her

  understanding that she was waiving certain appellate rights by entering into the guilty plea with

  the United States.

  D.     Recommendation

         Based upon a review of the record, the undersigned recommends that the petitioner’s

  §2255 motion be denied and dismissed from the docket because petitioner knowingly,

  intelligently, and voluntarily waived the right to collaterally attack the conviction.

                                            III. ANALYSIS




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         “[T]he guilty plea and the often concomitant plea bargain are important components of

  this country’s criminal justice system. Properly administered, they can benefit all concerned.”

  Blackledge v. Allison, 431 U.S. 63, 71 (1977). However, the advantages of plea bargains “can be

  secure . . . only if dispositions by guilty plea are accorded a great measure of finality.” Id. “To

  this end, the Government often secures waivers of appellate rights from criminal defendants as

  part of their plea agreement.” United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005).

         In United States v. Attar, 38 F.3d 727 (4th Cir. 1994), the Fourth Circuit found that “a

  waiver-of-appeal-rights provision in a valid plea agreement is enforceable against the defendant

  so long as it is the result of a knowing and intelligent decision to forgo the right to appeal.” Attar

  at 731. The Fourth Circuit then found that whether a waiver is knowing and intelligent “depends

  upon the particular facts and circumstances surrounding [its making], including the background,

  experience, and conduct of the accused.” Id. After upholding the general validity of a waiver-of-

  appeal-rights provision, the Fourth Circuit noted that even with a waiver-of-appeals-rights

  provision, a defendant may obtain appellate review of certain limited grounds. Id. at 732. For

  example, the Court noted that a defendant “could not be said to have waived his right to appellate

  review of a sentence imposed in excess of the maximum penalty provided by statute or based on

  a constitutionally impermissible factor such as race.” Id. Nor did the Court believe that a

  defendant “can fairly be said to have waived his right to appeal his sentence on the ground that

  the proceedings following the entry of the guilty plea were conducted in violation of the Sixth

  Amendment right to counsel.” Id.

         Subsequently, in United States v. Lemaster, supra, the Fourth Circuit saw no reason to

  distinguish between waivers of direct appeal rights and waivers of collateral attack rights.

  Lemaster, 403 F.3d at 220. Therefore, like waiver-of-appeal-rights provision, the Court found




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  that the waiver of the right to collaterally attack a sentence is valid as long as it is knowing and

  voluntary. Id. And, although, the Court expressly declined to address whether the same

  exceptions apply since Lemaster failed to make such an argument, the court stressed that it “saw

  no reason to distinguish between waivers of direct-appeal rights and waivers of collateral-attack

  rights.” Id. at n. 2.

          Based on these cases, it appears that ineffective assistance of counsel claims are barred

  by a valid waiver, to the extent that the facts giving rise to the claims occurred prior to the

  defendant entering his guilty plea. Only claims arising after the entry of the guilty plea may fall

  outside the scope of the waiver. Lemaster, 403 F.3d at 732 (it cannot be fairly said that a

  defendant “waived his right to appeal his sentence on the ground that the proceedings following

  entry of the guilty plea were conducted in violation of the Sixth Amendment right to counsel, for

  a defendant’s agreement to waive appellate review of his sentence is implicitly conditioned on

  the assumption that the proceedings following entry of the plea will be conducted in accordance

  with constitutional limitations”).

          Therefore, when reviewing an ineffective assistance of counsel claim in a case where

  there is a waiver of collateral-attack rights in a plea agreement, we must first determine whether

  there is valid waiver. In doing so,

                   The validity of an appeal waiver depends on whether the defendant
                   knowingly and intelligently agreed to waive the right to appeal.
                   Although this determination is often made based on adequacy of
                   the plea colloquy -- specifically, whether the district court
                   questioned the defendant about the appeal waiver – the issue
                   ultimately is evaluated by reference to the totality of the
                   circumstances. Thus, the determination must depend, in each case,
                   upon the particular facts and circumstances surrounding that case,
                   including the background, experience, and conduct of the accused.




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  United States v. Blick, 408 F.3d 162, 169 (4th Cir. 2005) (internal citations and quotations

  omitted).

         In other words, the Court must examine the actual waiver provision, the plea agreement

  as a whole, the plea colloquy, and the defendant’s ability to understand the proceedings. Id. If the

  Court finds that the waiver is valid, any IAC claims arising prior to the plea agreement are barred

  by the waiver.

         As to any IAC claims made regarding an attorney’s action, or lack thereof, after the plea

  agreement, the Fourth Circuit has stated, “[w]e do not think the general waiver of the right to

  challenge” a sentence on the ground that “the proceedings following entry of the guilty plea –

  including both the sentencing hearing itself and the presentation of the motion to withdraw their

  pleas – were conducted in violation of their Sixth Amendment right to counsel.” Lemaster, 403

  F.3d at 732-33. Therefore, upon first blush it appears that IAC claims arising after the guilty plea

  and/or during sentencing, are not barred by a general waiver-of-appeal rights.

         However, several courts have distinguished IAC claims raised in a § 2255 case, from

  those raised on direct appeal. In Braxton v. United States, 358 F.Supp.2d 497 (W.D Va. 2005),

  the Western District of Virginia noted that although the Fourth Circuit has yet to define the scope

  of waiver of collateral rights, several courts have held that § 2255 waivers should be subject to

  the same conditions and exceptions applicable to waivers of the right to file a direct appeal.

  Braxton at 502 (citing United States v. Cannady, 283 F.3d 641,645 n. 3 (4th Cir. 2000)

  (collecting cases); Butler v. United States, 173 F.Supp.2d 489, 493 (E.D. Va. 2001)).

  Nonetheless, the Western District of Virginia, distinguished the types of IAC claims available on

  direct appeal from those available in a § 2255 motion. Specifically, the Court noted:

                          Appellate courts rarely hear ineffective assistance of
                   counsel claims on direct review. Indeed, ‘[i]t is well settled that a



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                claim of ineffective assistance should be raised in a 28 U.S.C. §
                2255 motion in the district court rather than on direct appeal,
                unless the record conclusively shows ineffective assistance.’
                United States v. King, 119 F.3d 290, 295 (4th Cir. 1997).
                Therefore, the waiver exception recognized in Attar applies only to
                a very narrow category of cases. In contrast, a rule that defendants
                are unable to waive their right to bring an ineffective assistance
                claim in a § 2255 would create a large exception to the scope of §
                2255 waivers. In fact, such an exception would render all such
                waivers virtually meaningless because most habeas challenges can
                be pressed into the mold of a Sixth Amendment claim on collateral
                review. The Fifth Circuit has recognized this dynamic by noting
                that ‘[i]f all ineffective assistance of counsel claims were immune
                from waiver, any complaint about process could be brought in a
                collateral attack by merely challenging the attorney’s failure to
                achieve the desired result. A knowing and intelligent waiver should
                not be so easily evaded.’ United States v. White, 307 F.3d 336, 344
                (5th Cir. 2002).
  Braxton at 503.

          The Western District of Virginia further noted that the Tenth Circuit has also

  distinguished collateral-attack waivers from the situation in Attar and that the Fourth Circuit’s

  holding in United States v. Broughton-Jones, 71 F.3d 1143,1147 (4th Cir. 1995), also supports

  such a distinction. Braxton at 503, n. 2. Finally, the Braxton Court found it persuasive that the

  majority of circuits to have confronted this question “have held that collateral attacks claiming

  ineffective assistance of counsel that do not call into question the validity of the plea or the §

  2255 waiver itself, or do not related directly to the plea agreement or the waiver, are waivable.”

  Id. at 503. (collecting cases).

                                        IV. Recommendation

          Based upon a review of the record, the undersigned recommends that the petitioner’s

  §2255 motion be denied and dismissed from the docket because petitioner knowingly,

  intelligently, and voluntarily waived the right to collaterally attack the conviction.




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         Within ten (10) days after being served with a copy of this report and recommendation,

  any party may file with the Clerk of Court written objections identifying those portions of the

  recommendation to which objection is made and the basis for such objections. A copy of any

  objections shall also be submitted to the Honorable Frederick P. Stamp, Jr., United States District

  Judge. Failure to timely file objections to this recommendation will result in waiver of the right

  to appeal from a judgment of this Court based upon such recommendation. 28 U.S.C. §

  636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985):

  United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984).

         The Clerk is directed to mail a copy of this Report and Recommendation to the pro se

  plaintiff and counsel of record, as applicable.

         DATED: June 13, 2007



                                                        ______/s/ __James E. Seibert____________
                                                        JAMES E. SEIBERT
                                                        UNITED STATES MAGISTRATE JUDGE




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